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                    IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

UNITED STATES OF AMERICA,                  *
                                           *
                     Plaintiff,            *
vs.                                        *        No. 4:12-cr-00170-SWW-1
                                           *
                                           *
CHRISTOPHER ARNOLD HOGAN,                  *
                                           *
                     Defendant.            *

                                        ORDER

      The pro se motion [doc.#119] of defendant Christopher Arnold Hogan for

reconsideration of this Court’s order [doc.#117] denying Hogan’s motion [doc.#116] to

terminate the services of his appointed counsel and appoint him new counsel has been

considered by the Court and is hereby denied.


                    IT IS SO ORDERED this 13th day of March 2014.

                                        /s/Susan Webber Wright
                                        UNITED STATES DISTRICT JUDGE
